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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                      CIVIL ACTION NO. 12-859

VERSUS                                                     SECTION I, DIVISION 1

MARLIN GUSMAN, ET AL.                                      JUDGE LANCE M. AFRICK
                                                           MAGISTRATE JUDGE NORTH

                                      STATUS REPORT

       The City of New Orleans (the “City), hereby submits a Status Report on the progress of

the Temporary Detention Center (“TDC”) renovation and Phase III facility, in response to the

Court’s Order of March 18, 2019 (R.Doc. 1227).

       The City received final approval from FEMA on all necessary requirements to begin

renovations of TDC. Subsequently, the City issued a construction notice to proceed (“NTP”) to

Blanchard Mechanical Contractor (“BMC”) the week of August 23rd, with the NTP date of August

26, 2019. Thereafter, BMC began mobilization and performing light demolition of buildings #1

and #2. The team continues to meet with BMC for review of required up-front documents, (i.e.:

Site Safety Plan, Base Line Project Schedule, Critical Path Submittals, etc.). BMC is expected to

start plumbing and concrete demolition in mid-September. The projected timeframe for

completion of TDC remains eight months from the NTP.

       The Schematic Design (“SD”) concept for Phase III has been presented to all parties,

namely, Director Darnley Hodge, Sheriff Marlin Gusman and the City of New Orleans. The final

SD documents were presented to the Executive Group on August 20, 2019. Grace/Hebert

Architects (“GHA”), and Hill International, Inc. (”Hill”) prepared a SD level estimate to verify

that Phase III of the Orleans Justice Center meets the established project budget. On September
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10, 2019, Hill met with the City and recommended that it accept/approve the SD documents and

move forward with the Design Development Phase of the project.

       Noteworthy progress continues in moving both projects forward.

                                          Respectfully submitted,




                                          /s/ Sunni J. LeBeouf_______________
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